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 8 Attorneys for Plaintiff
   FINJAN, INC.
 9

10                              IN THE UNITED STATES DISTRICT COURT

11                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

12

13 FINJAN, INC., a Delaware Corporation,         Case No.:

14                 Plaintiff,                    COMPLAINT FOR PATENT
                                                 INFRINGEMENT
15          v.
                                                 DEMAND FOR JURY TRIAL
16
   JUNIPER NETWORKS, INC., a Delaware
17 Corporation,

18                 Defendant.
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     COMPLAINT FOR PATENT INFRINGEMENT                     CASE NO.
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 1                            COMPLAINT FOR PATENT INFRINGEMENT
 2          Plaintiff Finjan, Inc. (“Finjan”) files this Complaint for Patent Infringement and Demand for
 3 Jury Trial against Juniper Networks, Inc. (“Defendant” or “Juniper”) and alleges as follows:

 4                                               THE PARTIES
 5          1.      Finjan is a Delaware Corporation with its principal place of business at 2000 University
 6 Avenue, Suite 600, E. Palo Alto, California 94303.

 7          2.      Defendant is a Delaware Corporation with its headquarters and principal place of
 8 business at 1133 Innovation Way, Sunnyvale, California 94089. Defendant may be served through its
 9 agent for service of process, CT Corporation System, at 818 W. 7th Street, Suite 930, Los Angeles,

10 California 90017.

11                                      JURISDICTION AND VENUE
12          3.      This action arises under the Patent Act, 35 U.S.C. § 101 et seq. This Court has original
13 jurisdiction over this controversy pursuant to 28 U.S.C. §§ 1331 and 1338.

14          4.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and (c) and/or 1400(b).
15          5.      This Court has personal jurisdiction over Defendant. Upon information and belief,
16 Defendant is headquartered and has its principal place of business in this District (Sunnyvale,

17 California). Defendant also regularly and continuously does business in this District and has infringed

18 or induced infringement, and continues to do so, in this District. In addition, this Court has personal

19 jurisdiction over Defendant because minimum contacts have been established with this forum and the

20 exercise of jurisdiction would not offend traditional notions of fair play and substantial justice.

21                                    INTRADISTRICT ASSIGNMENT
22          6.      Pursuant to Local Rule 3-2(c), Intellectual Property Actions are assigned on a district-
23 wide basis.

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 1                                       FINJAN’S INNOVATIONS
 2          7.     Finjan was founded in 1997 as a wholly-owned subsidiary of Finjan Software Ltd., an
 3 Israeli corporation. In 1998, Finjan moved its headquarters to San Jose, California. Finjan was a

 4 pioneer in developing proactive security technologies capable of detecting previously unknown and

 5 emerging online security threats, recognized today under the umbrella term “malware.” These

 6 technologies protect networks and endpoints by identifying suspicious patterns and behaviors of

 7 content delivered over the Internet. Finjan has been awarded, and continues to prosecute, numerous

 8 patents covering innovations in the United States and around the world resulting directly from Finjan’s
 9 more than decades-long research and development efforts, supported by a dozen inventors and over

10 $65 million in R&D investments.

11          8.     Finjan built and sold software, including application program interfaces (APIs) and
12 appliances for network security, using these patented technologies. These products and related

13 customers continue to be supported by Finjan’s licensing partners. At its height, Finjan employed

14 nearly 150 employees around the world building and selling security products and operating the

15 Malicious Code Research Center, through which it frequently published research regarding network

16 security and current threats on the Internet. Finjan’s pioneering approach to online security drew

17 equity investments from two major software and technology companies, the first in 2005 followed by

18 the second in 2006. Finjan generated millions of dollars in product sales and related services and

19 support revenues through 2009, when it spun off certain hardware and technology assets in a merger.

20 Pursuant to this merger, Finjan was bound to a non-compete and confidentiality agreement, under

21 which it could not make or sell a competing product or disclose the existence of the non-compete

22 clause. Finjan became a publicly traded company in June 2013, capitalized with $30 million. After

23 Finjan’s obligations under the non-compete and confidentiality agreement expired in March 2015,

24 Finjan re-entered the development and production sector of secure mobile products for the consumer

25 market.

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 1                                   FINJAN’S ASSERTED PATENTS
 2          9.     On November 28, 2000, U.S. Patent No. 6,154,844 (“the ‘844 Patent”), titled SYSTEM
 3 AND METHOD FOR ATTACHING A DOWNLOADABLE SECURITY PROFILE TO A

 4 DOWNLOADABLE, was issued to Shlomo Touboul and Nachshon Gal. A true and correct copy of

 5 the ‘844 Patent is attached to this Complaint as Exhibit 1 and is incorporated by reference herein.

 6          10.    All rights, title, and interest in the ‘844 Patent have been assigned to Finjan, who is the
 7 sole owner of the ‘844 Patent. Finjan has been the sole owner of the ‘844 Patent since its issuance.

 8          11.    The ‘844 Patent is generally directed toward computer networks, and more particularly,
 9 provides a system that protects devices connected to the Internet from undesirable operations from

10 web-based content. One of the ways this is accomplished is by linking a security profile to such web-

11 based content to facilitate the protection of computers and networks from malicious web-based

12 content.

13          12.    On October 12, 2004, U.S. Patent No. 6,804,780 (“the ‘780 Patent”), titled SYSTEM
14 AND METHOD FOR PROTECTING A COMPUTER AND A NETWORK FROM HOSTILE

15 DOWNLOADABLES, was issued to Shlomo Touboul. A true and correct copy of the ‘780 Patent is

16 attached to this Complaint as Exhibit 2 and is incorporated by reference herein.

17          13.    All rights, title, and interest in the ‘780 Patent have been assigned to Finjan, who is the
18 sole owner of the ‘780 Patent. Finjan has been the sole owner of the ‘780 Patent since its issuance.

19          14.    The ‘780 Patent is generally directed toward methods and systems for generating a
20 Downloadable ID. By generating an identification for each examined Downloadable, the system may

21 allow for the Downloadable to be recognized without reevaluation. Such recognition increases

22 efficiency while also saving valuable resources, such as memory and computing power.

23          15.    On January 12, 2010, U.S. Patent No. 7,647,633 (“the ‘633 Patent”), titled
24 MALICIOUS MOBILE CODE RUNTIME MONITORING SYSTEM AND METHODS, was issued

25 to Yigal Mordechai Edery, Nimrod Itzhak Vered, David R. Kroll, and Shlomo Touboul. A true and

26 correct copy of the ‘633 Patent is attached to this Complaint as Exhibit 3 and is incorporated by

27 reference herein.

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 1          16.    All rights, title, and interest in the ‘633 Patent have been assigned to Finjan, who is the
 2 sole owner of the ‘633 Patent. Finjan has been the sole owner of the ‘633 Patent since its issuance.

 3          17.    The ‘633 Patent is generally directed toward computer networks and, more particularly,
 4 provides a system that protects devices connected to the Internet from undesirable operations from

 5 web-based content. One of the ways this is accomplished is by determining whether any part of such

 6 web-based content can be executed and then trapping such content and neutralizing possible harmful

 7 effects using mobile protection code.

 8          18.    On November 3, 2009, U.S. Patent No. 7,613,926 (“the ‘926 Patent”), titled METHOD
 9 AND SYSTEM FOR PROTECTING A COMPUTER AND A NETWORK FROM HOSTILE

10 DOWNLOADABLES, was issued to Yigal Mordechai Edery, Nimrod Itzhak Vered, David R. Kroll,

11 and Shlomo Touboul. A true and correct copy of the ‘926 Patent is attached to this Complaint as

12 Exhibit 4 and is incorporated by reference herein.

13          19.    All rights, title, and interest in the ‘926 Patent have been assigned to Finjan, who is the
14 sole owner of the ‘926 Patent. Finjan has been the sole owner of the ‘926 Patent since its issuance.

15          20.    The ‘926 Patent is generally directed toward methods and systems for protecting a
16 computer and a network from hostile downloadables. One of the ways this is accomplished is by

17 performing hashing on a downloadable in order to generate a downloadable ID, retrieving security

18 profile data, and transmitting an appended downloadable or transmitting the downloadable with a

19 representation of the downloadable security profile data.

20          21.    On March 20, 2012, U.S. Patent No. 8,141,154 (“the ‘154 Patent”), titled SYSTEM
21 AND METHOD FOR INSPECTING DYNAMICALLY GENERATED EXECUTABLE CODE, was

22 issued to David Gruzman and Yuval Ben-Itzhak. A true and correct copy of the ‘154 Patent is attached

23 to this Complaint as Exhibit 5 and is incorporated by reference herein.

24          22.    All rights, title, and interest in the ‘154 Patent have been assigned to Finjan, who is the
25 sole owner of the ‘154 Patent. Finjan has been the sole owner of the ‘154 Patent since its issuance.

26          23.    The ‘154 Patent is generally directed toward a gateway computer protecting a client
27 computer from dynamically generated malicious content. One of the ways this is accomplished is by

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 1 using a content processor to process a first function and invoke a second function if a security

 2 computer indicates that it is safe to invoke the second function.

 3           24.   On March 18, 2014, U.S. Patent No. 8,677,494 (“the ‘494 Patent”), titled MALICIOUS
 4 MOBILE CODE RUNTIME MONITORING SYSTEM AND METHODS, was issued to Yigal

 5 Mordechai Edery, Nimrod Itzhak Vered, David R. Kroll, and Shlomo Touboul. A true and correct

 6 copy of the ‘494 Patent is attached to this Complaint as Exhibit 6 and is incorporated by reference

 7 herein.

 8           25.   All rights, title, and interest in the ‘494 Patent have been assigned to Finjan, who is the
 9 sole owner of the ‘494 Patent. Finjan has been the sole owner of the ‘494 Patent since its issuance.

10           26.   The ‘494 Patent is generally directed toward a method and system for deriving security
11 profiles and storing the security profiles. One of the ways this is accomplished is by deriving a

12 security profile for a downloadable, which includes a list of suspicious computer operations, and

13 storing the security profile in a database.

14           27.   On July 5, 2011, U.S. Patent No. 7,975,305 (“the ‘305 Patent”), titled METHOD AND
15 SYSTEM FOR ADAPTIVE RULE-BASED CONENT SCANNERS FOR DESKTOP COMPUTERS,

16 was issued to Moshe Rubin, Moshe Matitya, Artem Melnick, Shlomo Touboul, Alexander Yermakov,

17 and Amit Shaked. A true and correct copy of the ‘305 Patent is attached to this Complaint as Exhibit 7

18 and is incorporated by reference herein.

19           28.   All rights, title, and interest in the ‘305 Patent have been assigned to Finjan, who is the
20 sole owner of the ‘305 Patent. Finjan has been the sole owner of the ‘305 Patent since its issuance.

21           29.   The ‘305 Patent is generally directed toward network security and, in particular, rule
22 based scanning of web-based content for exploits. One of the ways this is accomplished is by using

23 parser and analyzer rules to describe computer exploits as patterns of types of tokens. Additionally,

24 the system provides a way to keep these rules updated.

25           30.   On July 17, 2012, U.S. Patent No. 8,225,408 (“the ‘408 Patent”), entitled METHOD
26 AND SYSTEM FOR ADAPTIVE RULE-BASED CONTENT SCANNERS, was issued to Moshe

27 Rubin, Moshe Matitya, Artem Melnick, Shlomo Touboul, Alexander Yermakov and Amit Shaked. A

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 1 true and correct copy of the ‘408 Patent is attached to this First Supplemental Complaint as Exhibit 8

 2 and is incorporated by reference herein.

 3          31.    All rights, title, and interest in the ‘408 Patent have been assigned to Finjan, who is the
 4 sole owner of the ‘408 Patent. Finjan has been the sole owner of the ‘408 Patent since its issuance.

 5          32.    The ‘408 Patent is generally directed toward network security and, in particular, rule
 6 based scanning of web-based content for a variety of exploits written in different programming

 7 languages. One of the ways this is accomplished is by expressing the exploits as patterns of tokens.

 8 Additionally, the system provides a way to analyze these exploits by using a parse tree.
 9          33.    The ‘844 Patent, the ‘780 Patent, the ‘633 Patent, the ‘926 Patent, the ‘154 Patent, the
10 ‘494 Patent, the ‘305 Patent, and the ‘408 Patent, as described in paragraphs 9-32 above, are

11 collectively referred to as the “Asserted Patents” herein.

12                     FINJAN’S NOTICE OF INFRINGEMENT TO DEFENDANT
13          34.    Finjan and Defendant’s patent discussions date back to June 2014. Finjan contacted
14 Defendant on or about June 10, 2014, regarding a potential license to Finjan’s patents.

15          35.    On or about July 2, 2014, Finjan provided Defendant with an exemplary claim chart
16 detailing how Defendant’s products relate to U.S. Patent Number 6,965,968 (the “‘968 Patent”). In the

17 email attaching that exemplary claim chart, Finjan told Defendant: “We believe a license to Finjan’s

18 patent portfolio could be beneficial to some [of] Juniper’s security products and services. Besides, we

19 could also explore possible common interests relating to other patent collaborations such as co-

20 investments or M&A activities in technology companies.” Finjan also offered to provide Defendant

21 with additional exemplary claim charts, under a non-disclosure agreement, so that Defendant could

22 evaluate Finjan’s patent portfolio.

23          36.    On or about January 12, 2015, Finjan met with Defendant’s Senior Director of IP,
24 Litigation and Strategy regarding Defendant’s products and how they relate to Finjan’s patents. Finjan

25 again offered to enter into a non-disclosure agreement, so that Defendant could evaluate Finjan’s

26 patent portfolio in detail, but Defendant declined to enter into a non-disclosure agreement at that time.

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 1          37.    On or about February 13, 2015, Defendant sent a letter to Finjan listing ten patents that
 2 Defendant believed would be considered “prior art” to the ‘968 Patent. Finjan contacted Defendant

 3 again on February 18, 2015, and February 20, 2015, in an attempt to follow up on Defendant’s letter,

 4 but Defendant declined to respond to Finjan’s February 20, 2015, email.

 5          38.    Having heard no response from Defendant’s Senior Director of IP, Litigation and
 6 Strategy, on or about September 30, 2015, Finjan sent a letter to Defendant distinguishing the ten

 7 patents that Defendant had identified as potential “prior art” and stating how those ten patents were not

 8 relevant to the ‘968 Patent. Again, Defendant’s Senior Director of IP, Litigation and Strategy declined
 9 to respond to Finjan’s letter.

10          39.    On or about October 15, 2015, Finjan contacted Defendant’s Deputy General Counsel
11 to discuss Defendant’s products and how they read on Finjan’s patents. Defendant’s Deputy General

12 Counsel referred Finjan back to Defendant’s Senior Director of IP, Litigation and Strategy to continue

13 licensing discussions.

14          40.    On or about November 24, 2015, Finjan spoke again with Defendant’s Senior Director
15 of IP, Litigation and Strategy by telephone, to discuss Defendant’s products and how they relate to

16 Finjan’s patents. During that telephone call, Defendant’s Senior Director of IP, Litigation and Strategy

17 indicated that he did not think Finjan was worth Defendant’s time and he expressed no interest in

18 understanding the analysis that Finjan had prepared regarding Defendant’s products and how they

19 relate to Finjan’s patents. Defendant’s Senior Director of IP, Litigation and Strategy also repeatedly

20 turned that telephone conversation toward the topic of litigation, referenced his own hypothetical

21 deposition, refused to sign an non-disclosure agreement, and stated that if Finjan shared any more

22 exemplary claim charts with him, he would share them with other entities.

23          41.    On or about February 2, 2016, Finjan contacted Defendant’s Deputy General Counsel
24 again to express concern that Defendant did not seem to be taking Finjan’s efforts to engage in

25 licensing discussions seriously, and to discuss how Defendant’s products related to Finjan’s patents.

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 1          42.    Despite Finjan’s earnest and consistent efforts since June 2014, Defendant has refused
 2 to take a license to Finjan’s patents. At no time has Defendant provided any explanation as to how any

 3 of the Accused Products do not infringe any of the Asserted Patents.

 4                                                JUNIPER
 5          43.    Defendant makes, uses, sells, offers for sale, and/or imports into the United States and
 6 this District products and services that utilize the SRX Series Services Gateways, Sky Advanced

 7 Threat Prevention (“Sky ATP”), Junos Space Security Director, and Contrail products. See:

 8 http://www.juniper.net/us/en/products-services/security/srx-series/;
 9 http://www.juniper.net/us/en/products-services/security/sky-advanced-threat-prevention/;

10 http://www.juniper.net/us/en/products-services/security/security-director/; and

11 http://www.juniper.net/us/en/products-services/sdn/contrail/, attached hereto as Exhibits 9-12.

12                                              SRX Gateways
13          44.    Defendant’s SRX Series Services Gateways are Defendant’s next-generation gateway
14 platforms designed for small, medium, and large enterprises. Defendant’s SRX Gateways include the:

15 SRX110; SRX220; SRX300; SRX550; SRX1400; SRX1500; SRX3400; SRX3600; SRX4000;

16 SRX5400; SRX5600; and SRX5800 gateway appliances, as well as the vSRX Virtual Firewall and

17 cSRX Container Firewall (collectively, “SRX Gateways”). See http://www.juniper.net/us/en/products-

18 services/security/srx-series/, attached hereto as Exhibit 9. SRX Gateways perform malware detection

19 by processing network traffic using static and dynamic analysis. SRX Gateways integrate with

20 Defendant’s Sky ATP service for malware detection and with Junos Space Security Director to

21 maintain databases and manage security policies across the network.

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   See http://www.juniper.net/assets/us/en/local/pdf/datasheets/1000281-en.pdf at 3, attached hereto as
15 Exhibit 13.

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26 See http://www.juniper.net/assets/us/en/local/pdf/datasheets/1000489-en.pdf at 2, attached hereto as

27 Exhibit 14.

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16 See http://www.juniper.net/assets/us/en/local/pdf/datasheets/1000281-en.pdf at 3 and 6-7, attached
   hereto as Exhibit 14.
17
                                                  Sky ATP
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           45.    Defendant’s Sky ATP is a cloud-based service that is integrated with SRX Gateways to
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   provide “complete advanced malware protection” and deliver “a dynamic anti-malware solution that
20
   can adapt to an ever-changing threat landscape.” http://www.juniper.net/us/en/products-
21
   services/security/sky-advanced-threat-prevention/, attached hereto as Exhibit 10;
22
   https://www.youtube.com/watch?v=efXR9F1WM80. As shown below, SRX Gateway’s integrate with
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   Sky ATP to deliver inspection, inline malware blocking, and actionable reporting.
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     Sky ATP Admin Manual at 8, attached hereto as Exhibit 15.
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            46.    Sky ATP analyzes network traffic and extracts suspicious code for analysis across a
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     broad range of files contained within this network traffic. Sky ATP uses a pipeline approach to
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     analyzing malware using cache lookups, traditional antivirus scanning, static analysis, and dynamic
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     analysis using a sandbox.
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10 Sky ATP Admin Manual at 9, attached hereto as Exhibit 15.

11          47.     As shown below, Sky ATP creates a file hash of incoming downloadables (using
12 SHA256) and stores the hash value in a database.

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     Sky ATP Admin Manual at 9, attached hereto as Exhibit 15.
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            48.     Sky ATP uses static analysis to examine files for suspicious operations, such as
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     modifying the Windows registry or creating a file. The output of the static analysis performed by Sky
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     ATP is a security profile that is fed into Juniper’s systems to protect an internal network and/or to
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     allow for further analysis or intelligence.
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     COMPLAINT FOR PATENT INFRINGEMENT                                    CASE NO.
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 6 Sky ATP Admin Manual at 10, attached hereto as Exhibit 15.

 7          49.    Sky ATP also uses dynamic analysis (e.g., sandboxing) to monitor and “record” the

 8 activity of a downloadable, including suspicious operations indicative of malware. The output of the
 9 dynamic analysis performed by Sky ATP is a security profile that is fed into Juniper’s systems to

10 protect an internal network and/or allow for further analysis or intelligence.

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24 Sky ATP Admin Manual at 10, attached hereto as Exhibit 15.

25          50.    The security profiles are fed into Juniper’s systems to generate a “threat level” for each

26 downloadable.

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10 Sky ATP Admin Manual at 11, attached hereto as Exhibit 15.

11                                      Junos Space Security Director
12          51.    Defendant’s Junos Space Security Director provides security policy management
13 through a centralized interface that gives administrators security management and policy control,

14 network-wide. Junos Space Security Director integrates with Sky ATP, storing and using information

15 gathered and reported by Sky ATP to learn about and respond to new threats. With this information,

16 Junos Space Security Director automatically updates policies and deploys new enforcements, thereby

17 quarantining and tracking infected hosts to stop the progress of threats.

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     http://www.juniper.net/assets/us/en/local/pdf/datasheets/1000332-en.pdf), at 1, attached hereto as
 1
     Exhibit 16.
 2                                                    Contrail
 3           52.    Defendant’s Contrail system is a cloud-based security platform that allows users to
 4 apply security policies uniformly across multiple networking environments. Contrail provides control

 5 over application traffic flow, enforces security policies, and selectively redirects suspicious network

 6 traffic to Defendant’s SRX Gateways. Contrail also provides deep insight into application interactions

 7 and uses machine learning to detect anomalies and take corrective action.

 8 http://www.juniper.net/us/en/products-services/sdn/contrail/contrail-security/, attached hereto as
 9 Exhibit 17.

10                            JUNIPER’S INFRINGEMENT OF FINJAN’S PATENTS
11           53.    Defendant has been and is now infringing, and will continue to infringe, the ‘844
12 Patent, the ‘780 Patent, the ‘633 Patent, the ‘926 Patent, the ‘154 Patent, the ‘494 Patent, the ‘305

13 Patent, and the ‘408 Patent (collectively, the “Asserted Patents”) in this Judicial District and elsewhere

14 in the United States by, among other things, making, using, importing, selling, and/or offering for sale

15 the SRX Gateways, Sky ATP, and Junos Space Security Director products.

16           54.    In addition to directly infringing the Asserted Patents pursuant to 35 U.S.C. § 271(a),
17 either literally or under the doctrine of equivalents, or both, Defendant indirectly infringes all the

18 Asserted Patents by instructing, directing, and/or requiring others, including its customers, purchasers,

19 users, and developers, to perform all or some of the steps of the method claims, either literally or under

20 the doctrine of equivalents, or both, of the Asserted Patents.

21                                                COUNT I
22                 (Direct Infringement of the ‘844 Patent pursuant to 35 U.S.C. § 271(a))

23           55.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the

24 allegations of the preceding paragraphs, as set forth above.

25           56.    Defendant has infringed Claims 1-44 of the ‘844 Patent in violation of 35 U.S.C. §

26 271(a).

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     COMPLAINT FOR PATENT INFRINGEMENT                                     CASE NO.
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 1          57.    Defendant’s infringement is based upon literal infringement or infringement under the
 2 doctrine of equivalents, or both.

 3          58.    Defendant’s acts of making, using, importing, selling, and/or offering for sale infringing
 4 products and services have been without the permission, consent, authorization, or license of Finjan.

 5          59.    Defendant’s infringement includes the manufacture, use, sale, importation and/or offer
 6 for sale of Defendant’s products and services, including the SRX Gateways and also the SRX

 7 Gateways using Sky ATP (collectively, the “‘844 Accused Products”).

 8          60.    The ‘844 Accused Products embody the patented invention of the ‘844 Patent and
 9 infringe the ‘844 Patent because they practice a method of receiving by an inspector a downloadable,

10 generating by the inspector (e.g., Sky ATP’s static and dynamic analyzers) a first downloadable

11 security profile that identifies suspicious code in the received downloadable, and linking by the

12 inspector the first downloadable security profile to the downloadable before a web server makes the

13 downloadable available to web clients. See Sky ATP Admin Manual) at 9-11, attached hereto as

14 Exhibit 15. For example, as shown below, the ‘844 Accused Products provide gateway security to end

15 users, where incoming downloadables (e.g., PDFs with JavaScript, EXE files, or JavaScript embedded

16 within an HTML file) are received by the ‘844 Products.

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14 See http://www.juniper.net/documentation/en_US/release-independent/sky-atp/topics/concept/sky-atp-
   about.html at 3-4, attached hereto as Exhibit 18.
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           61.    Sky ATP generates a downloadable security profile that analyzes suspicious behavior
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   and captures a list of suspicious computer operations that are performed by the downloadable.
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     COMPLAINT FOR PATENT INFRINGEMENT                             CASE NO.
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     https://www.youtube.com/watch?v=1QmXh8nDIYg.
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   See https://www.juniper.net/documentation/en_US/release-independent/sky-atp/topics/concept/sky-
25 atp-malware-analyze.html at 2, attached hereto as Exhibit 19.

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     COMPLAINT FOR PATENT INFRINGEMENT                             CASE NO.
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 1         62.     For example, Sky ATP identifies registry operations and certain suspicious operations
 2 captured during dynamic and static analysis of the downloadable.

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   See https://www.juniper.net/documentation/en_US/release-independent/sky-atp/topics/concept/sky-
15 atp-malware-analyze.html at 1-2, attached hereto as Exhibit 19.

16         63.     Sky ATP links the downloadable security profile to the downloadable before it is made

17 available to the client. For example, Sky ATP uses rules to determine a “verdict” on whether the

18 content is malicious, and links the downloadable security profile to the downloadable to prevent access

19 to the downloadable via a blocking mechanism.

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     COMPLAINT FOR PATENT INFRINGEMENT                                CASE NO.
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   See https://www.juniper.net/documentation/en_US/release-independent/sky-atp/topics/concept/sky-
14 atp-malware-analyze.html at 1, attached hereto as Exhibit 19.

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14 https://www.youtube.com/watch?v=1QmXh8nDIYg.

15          64.     SRX Gateways also infringe the ‘844 Patent without the use of Sky ATP, because they
16 receive downloadables, inspect the downloadables to determine if they contain suspicious code or

17 “potentially malicious content,” generate a first downloadable security profile that identifies the

18 “potentially malicious content,” and link that first downloadable security profile to the downloadable

19 before it is made available to a client (e.g., “SRX extracts potentially malicious objects and files” and

20 “SRX blocks known malicious file downloads”). For example, as shown below, SRX Gateways

21 receive downloadables, perform a full packet inspection on the downloadables, and apply security

22 policies based on that inspection.

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     COMPLAINT FOR PATENT INFRINGEMENT                                   CASE NO.
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   See http://www.juniper.net/assets/us/en/local/pdf/datasheets/1000281-en.pdf at 3, attached hereto as
15 Exhibit 13.

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26 See http://www.juniper.net/assets/us/en/local/pdf/datasheets/1000489-en.pdf at 2, attached hereto as
   Exhibit 14.
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            65.     SRX Gateways identify “attack objects,” which are downloadables that contain patterns
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 2 of known attacks that can be used to compromise a network. SRX Gateways generate and log a first

 3 downloadable security profile called a “signature” that identifies the attack objects or suspicious code.

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   https://www.juniper.net/documentation/en_US/junos-space15.2/topics/task/operational/junos-space-
 8 ips-signature-creating.html, attached hereto as Exhibit 20.
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   https://www.juniper.net/documentation/en_US/junos-space15.1/topics/task/operational/junos-space-
21 security-design-ips-signature-creating.html, attached hereto as Exhibit 25.

22          66.     SRX Gateways link that first downloadable security profile or signature to the
23
     downloadable before it is made available to a client (e.g., “SRX blocks known malicious file
24
     downloads”).
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13 See http://www.juniper.net/assets/us/en/local/pdf/datasheets/1000281-en.pdf at 6-7, attached hereto as

14 Exhibit 13.

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14 See https://www.youtube.com/watch?v=1QmXh8nDIYg.

15          67.       Defendant’s infringement of the ‘844 Patent has injured Finjan in an amount to be

16 proven at trial.

17          68.       Defendant has been long-aware of Finjan’s patents, including the ‘844 Patent, and

18 continued its infringing activity despite this knowledge. On or about June 10, 2014, Finjan informed

19 Defendant of its patent portfolio, including the Asserted patents and Defendant’s infringement thereof.

20 On or about July 2, 2014, Finjan provided a representative claim chart mapping one of Finjan’s patents

21 to Defendant’s accused products and services. Finjan diligently, but unsuccessfully, attempted to

22 engage in good faith negotiations with Defendant regarding Finjan’s patent portfolio, explaining

23 Defendant’s infringement of each claim of a representative patent, element-by-element.

24          69.       Even after being shown that its products infringe Finjan’s patents, on information and

25 belief Defendant has made no effort to design its products or services around Finjan’s patents, in order

26 to avoid infringement. Instead, on information and belief Defendant incorporated infringing

27 technology into additional products, such as those identified in this complaint. Defendant was

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     COMPLAINT FOR PATENT INFRINGEMENT                                    CASE NO.
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 1 dismissive of Finjan’s attempts, over several years, to engage in licensing discussions and expressed

 2 more interest in Finjan’s status as a practicing entity than in Finjan’s analysis of how Defendant’s

 3 products read on Finjan’s patents. For years Defendant refused to seriously consider Finjan’s patent

 4 portfolio under a non-disclosure agreement. All of these actions demonstrate Defendant’s blatant and

 5 egregious disregard for Finjan’s patent rights.

 6          70.     Despite its knowledge of Finjan’s patent portfolio and Asserted Patents, being provided
 7 a representative claim chart of Finjan patents, and engaging in multiple meetings regarding

 8 infringement of Defendant’s products and services, Defendant has sold and continues to sell the
 9 accused products and services in complete and reckless disregard of Finjan’s patent rights. As such,

10 Defendant has acted recklessly and continues to willfully, wantonly, and deliberately engage in acts of

11 infringement of the ‘844 Patent, justifying an award to Finjan of increased damages under 35 U.S.C. §

12 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

13                                               COUNT II
14                (Indirect Infringement of the ‘844 Patent pursuant to 35 U.S.C. § 271(b))
            71.     Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the
15
     allegations of the preceding paragraphs, as set forth above.
16
            72.     Defendant has induced infringement of one or more claims of the ‘844 Patent under 35
17
     U.S.C. § 271(b).
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            73.     In addition to directly infringing the ‘844 Patent, Defendant indirectly infringes the ‘844
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     Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing, and/or requiring others, including its
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     customers, purchasers, users, and developers, to perform one or more of the steps of the method
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     claims, either literally or under the doctrine of equivalents, of the ‘844 Patent, where all the steps of the
22
     method claims are performed by either Defendant, its customers, purchasers, users or developers, or
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     some combination thereof. Defendant knew or was willfully blind to the fact that it was inducing
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     others, including customers, purchasers, users or developers, to infringe by practicing, either
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     themselves or in conjunction with Defendant, one or more method claims of the ‘844 Patent, including
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     at least Claims 1-14 and 23-31.
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     COMPLAINT FOR PATENT INFRINGEMENT                                      CASE NO.
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 1          74.     Defendant knowingly and actively aided and abetted the direct infringement of the ‘844
 2 Patent by instructing and encouraging its customers, purchasers, users and developers to use the ‘844

 3 Accused Products. Such instruction and encouragement includes, but is not limited to, advising third

 4 parties to use the ‘844 Accused Products in an infringing manner, providing a mechanism through

 5 which third parties may infringe the ‘844 Patent, advertising and promoting the use of the ‘844

 6 Accused Products in an infringing manner, and distributing guidelines and instructions to third parties

 7 on how to use the ‘844 Accused Products in an infringing manner.

 8          75.     Defendant updates and maintains an HTTP site called the “Technical Assistance
 9 Center” with Defendant’s installation guides, troubleshooting guides, user guides, and operating

10 instructions for Defendant’s accused products. See, e.g., http://www.juniper.net/documentation/;

11 https://www.juniper.net/documentation/en_US/release-independent/junos/topics/concept/services-

12 gateway-srx240-jtac.html, attached hereto as Exhibits 21, 22.

13                                               COUNT III
                   (Direct Infringement of the ‘780 Patent pursuant to 35 U.S.C. § 271(a))
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            76.     Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the
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     allegations of the preceding paragraphs, as set forth above.
16
            77.     Defendant has infringed Claims 1-18 of the ‘780 Patent in violation of 35 U.S.C.
17
     § 271(a).
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            78.     Defendant’s infringement is based upon literal infringement or infringement under the
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     doctrine of equivalents, or both.
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            79.     Defendant’s acts of making, using, importing, selling, and/or offering for sale infringing
21
     products and services have been without the permission, consent, authorization, or license of Finjan.
22
            80.     Defendant’s infringement includes, but is not limited to, the manufacture, use, sale,
23
     importation and/or offer for sale of Defendant’s products and services, including the SRX Gateways
24
     using Sky ATP (collectively, the “‘780 Accused Products”).
25
            81.     The ‘780 Accused Products embody the patented invention of the ‘780 Patent and
26
     infringe the ‘780 Patent because they practice a method of obtaining a downloadable that includes one
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     COMPLAINT FOR PATENT INFRINGEMENT                                     CASE NO.
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 1 or more references to software components required to be executed by the downloadable, fetching at

 2 least one software component required to be executed by the downloadable, and performing a hashing

 3 function on the downloadable and the fetched software components to generate a Downloadable ID.

 4 For example, as shown below, the ‘780 Accused Products provide gateway security to end users,

 5 where they receive downloadables that include one or more references to executable software

 6 components, including .exe files, .pdf files, and other downloadables that might exhibit malicious

 7 behavior. The ‘780 Accused Products will also fetch at least one software component required to be

 8 executed by the downloadable.
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     Sky ATP Admin Manual at 9, attached hereto as Exhibit 15.
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            82.    The ‘780 Accused Products perform a hashing function (such as MD-5, SHA1, or
21
     SHA256) on the downloadable to generate a downloadable ID, as shown below. The ‘780 Accused
22
     Products hash files and components that are referenced by the downloadable as part of creating a
23
     downloadable ID.
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 9 See https://www.juniper.net/documentation/en_US/release-independent/sky-atp/topics/concept/sky-
   atp-malware-analyze.html at 1, attached hereto as Exhibit 19.
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   See http://www.juniper.net/documentation/en_US/release-independent/sky-atp/information-
21 products/topic-collections/sky-atp-open-apis.html#operation--v1-skyatp-lookup-hash--hash_string--
   get) at 2, attached hereto as Exhibit 23.
22
           83.      Defendant’s infringement of the ‘780 Patent has injured Finjan in an amount to be
23
   proven at trial.
24
           84.      Defendant has been long-aware of Finjan’s patents, including the ‘780 Patent, and has
25
   continued its infringing activity despite this knowledge. On or about June 10, 2014, Finjan informed
26
   Defendant of its patent portfolio, including the Asserted patents and Defendant’s infringement thereof.
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     COMPLAINT FOR PATENT INFRINGEMENT                                 CASE NO.
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 1 On or about July 2, 2014, Finjan provided a representative claim chart mapping one of Finjan’s patents

 2 to Defendant’s accused products and services. Finjan diligently, but unsuccessfully, attempted to

 3 engage in good faith negotiations with Defendant regarding Finjan’s patent portfolio, explaining

 4 Defendant’s infringement of each claim of a representative patent, element-by-element.

 5          85.    Even after being shown that its products infringe Finjan’s patents, on information and
 6 belief Defendant has made no effort to design its products or services around Finjan’s patents, in order

 7 to avoid infringement. Instead, on information and belief Defendant incorporated infringing

 8 technology into additional products, such as those identified in this complaint. Defendant was
 9 dismissive of Finjan’s attempts, over several years, to engage in licensing discussions and expressed

10 more interest in Finjan’s status as a practicing entity than in Finjan’s analysis of how Defendant’s

11 products read on Finjan’s patents. For years Defendant refused to seriously consider Finjan’s patent

12 portfolio under a non-disclosure agreement. All of these actions demonstrate Defendant’s blatant and

13 egregious disregard for Finjan’s patent rights.

14          86.    Despite its knowledge of Finjan’s patent portfolio and Asserted Patents, being provided
15 a representative claim chart of Finjan patents, and engaging in multiple meetings regarding

16 infringement of Defendant’s products and services, Defendant has sold and continues to sell the

17 accused products and services in complete and reckless disregard of Finjan’s patent rights. As such,

18 Defendant has acted recklessly and continues to willfully, wantonly, and deliberately engage in acts of

19 infringement of the ‘780 Patent, justifying an award to Finjan of increased damages under 35 U.S.C. §

20 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

21                                               COUNT IV
22                (Indirect Infringement of the ‘780 Patent pursuant to 35 U.S.C. § 271(b))

23          87.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the

24 allegations of the preceding paragraphs, as set forth above.

25          88.    Defendant has induced infringement of at least Claims 1-8 of the ‘780 Patent under 35

26 U.S.C. § 271(b).

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 1          89.     In addition to directly infringing the ‘780 Patent, Defendant indirectly infringes the
 2 ‘780 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

 3 customers, purchasers, users and developers, to perform some of the steps of the method claims,

 4 either literally or under the doctrine of equivalents, of the ‘780 Patent, where all the steps of the

 5 method claims are performed by either Defendant or its customers, purchasers, users and developers,

 6 or some combination thereof. Defendant knew or was willfully blind to the fact that it was inducing

 7 others, including customers, purchasers, users and developers, to infringe by practicing, either

 8 themselves or in conjunction with Defendant, one or more method claims of the ‘780 Patent,
 9 including Claims 1-8.

10          90.     Defendant knowingly and actively aided and abetted the direct infringement of the
11 ‘780 Patent by instructing and encouraging its customers, purchasers, users and developers to use the

12 ‘780 Accused Products. Such instruction and encouragement includes, but is not limited to, advising

13 third parties to use the ‘780 Accused Products in an infringing manner, providing a mechanism

14 through which third parties may infringe the ‘780 Patent, advertising and promoting the use of the

15 ‘780 Accused Products in an infringing manner, and distributing guidelines and instructions to third

16 parties on how to use the ‘780 Accused Products in an infringing manner.

17          91.     Defendant updates and maintains an HTTP site with Defendant’s quick start guides,
18 administration guides, user guides, and operating instructions which cover in depth aspects of

19 operating Defendant’s offerings. See, e.g., http://www.juniper.net/documentation/;

20 https://www.juniper.net/documentation/en_US/release-independent/junos/topics/concept/services-

21 gateway-srx240-jtac.html, attached hereto as Exhibits 21, 22.

22                                               COUNT V
23                 (Direct Infringement of the ‘633 Patent pursuant to 35 U.S.C. § 271(a))

24          92.     Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the

25 allegations of the preceding paragraphs, as set forth above.

26          93.     Defendant has infringed and continues to infringe Claims 1-41 of the ‘633 Patent in

27 violation of 35 U.S.C. § 271(a).

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     COMPLAINT FOR PATENT INFRINGEMENT                                     CASE NO.
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 1         94.     Defendant’s infringement is based upon literal infringement or infringement under the
 2 doctrine of equivalents, or both.

 3         95.     Defendant’s acts of making, using, importing, selling, and/or offering for sale infringing
 4 products and services have been without the permission, consent, authorization, or license of Finjan.

 5         96.     Defendant’s infringement includes, but is not limited to, the manufacture, use, sale,
 6 importation and/or offer for sale of Defendant’s products and services, including the SRX Gateways

 7 using Sky ATP (collectively, the “’633 Accused Products”).

 8         97.     The ‘633 Accused Products embody the patented invention of the ‘633 Patent and
 9 infringe the ‘633 Patent because they practice a method and a system of receiving downloadable

10 information, determining whether that the downloadable information includes executable code, and

11 transmitting mobile protection code to at least one information destination of the downloadable

12 information if the downloadable information is determined to include executable code. For example,

13 as shown below, the ‘633 Accused Products provide gateway security to end users, where they receive

14 downloadable information and scan this downloadable information to determine whether it contains

15 executable code. If the downloadable information includes executable code, mobile protection code

16 and the executable code are sent to an information destination, such as the “Sky ATP Cloud” or Sky

17 ATP Sandbox for processing within a sandbox.

18         98.     The Sky ATP cloud platform will analyze executable code and create executable mobile
19 protection code used within the virtual machine or sandbox described below.

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     COMPLAINT FOR PATENT INFRINGEMENT                                  CASE NO.
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   See https://www.juniper.net/documentation/en_US/release-independent/sky-atp/topics/concept/sky-
14 atp-malware-analyze.html at 1, attached as Exhibit 19.

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     COMPLAINT FOR PATENT INFRINGEMENT                             CASE NO.
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     See http://www.juniper.net/us/en/products-services/security/sky-advanced-threat-prevention/, attached
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     hereto as Exhibit 10; https://www.youtube.com/watch?v=efXR9F1WM80.
 2          99.     The ‘633 Accused Products can use mobile protection code to quarantine the infected
 3 file or host.

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     See http://www.juniper.net/us/en/products-services/security/sky-advanced-threat-prevention/, attached
17
     hereto as Exhibit 10; https://www.youtube.com/watch?v=efXR9F1WM80.
18
            100.    The SRX Gateways also infringe the ‘633 Patent without the use of Sky ATP, because
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     these products receive downloadable information, determine whether it contains executable code, and
20
     transmit mobile protection code to at least one information destination (e.g., Sky ATP) if the
21

22 downloadable has executable code.

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26 https://www.juniper.net/documentation/en_US/junos-space15.2/topics/task/operational/junos-space-

27 ips-signature-creating.html, attached hereto as Exhibit 20.

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     COMPLAINT FOR PATENT INFRINGEMENT                                   CASE NO.
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14 See http://www.juniper.net/assets/us/en/local/pdf/datasheets/1000281-en.pdf at 6-7, attached hereto as
   Exhibit 13.
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 1 See https://www.youtube.com/watch?v=1QmXh8nDIYg.

 2          101.   As a result of Defendant’s unlawful activities, Finjan has suffered and will continue to
 3 suffer irreparable harm for which there is no adequate remedy at law. Finjan and Defendant both

 4 compete in the security software space, as described for example in paragraphs 7-8 and 34-52 above.

 5 And Finjan is actively engaged in licensing its patent portfolio, as described for example in paragraphs

 6 7-8 and 34-42 above. Defendant’s continued infringement of the Asserted Patents causes harm to

 7 Finjan in the form of price erosion, loss of goodwill, damage to reputation, loss of business

 8 opportunities, inadequacy of money damages, and direct and indirect competition. Monetary damages
 9 are insufficient to compensate Finjan for these harms. Accordingly, Finjan is entitled to preliminary

10 and/or permanent injunctive relief.

11          102.   Defendant’s infringement of the ‘633 Patent has injured and continues to injure Finjan
12 in an amount to be proven at trial.

13          103.   Defendant has been long-aware of Finjan’s patents, including the ‘633 Patent, and has
14 continued its infringing activity despite this knowledge. On or about June 10, 2014, Finjan informed

15 Defendant of its patent portfolio, including the Asserted patents and Defendant’s infringement thereof.

16 On or about July 2, 2014, Finjan provided a representative claim chart mapping one of Finjan’s patents

17 to Defendant’s accused products and services. Finjan diligently, but unsuccessfully, attempted to

18 engage in good faith negotiations with Defendant regarding Finjan’s patent portfolio, explaining

19 Defendant’s infringement of each claim of a representative patent, element-by-element.

20          104.   Even after being shown that its products infringe Finjan’s patents, on information and
21 belief Defendant has made no effort to design its products or services around Finjan’s patents, in order

22 to avoid infringement. Instead, on information and belief Defendant incorporated infringing

23 technology into additional products, such as those identified in this complaint. Defendant was

24 dismissive of Finjan’s attempts, over several years, to engage in licensing discussions and expressed

25 more interest in Finjan’s status as a practicing entity than in Finjan’s analysis of how Defendant’s

26 products read on Finjan’s patents. For years Defendant refused to seriously consider Finjan’s patent

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 1 portfolio under a non-disclosure agreement. All of these actions demonstrate Defendant’s blatant and

 2 egregious disregard for Finjan’s patent rights.

 3          105.    Despite its knowledge of Finjan’s patent portfolio and Asserted Patents, being provided
 4 a representative claim chart of Finjan patents, and engaging in multiple meetings regarding

 5 infringement of Defendant’s products and services, Defendant has sold and continues to sell the

 6 accused products and services in complete and reckless disregard of Finjan’s patent rights. As such,

 7 Defendant has acted recklessly and continues to willfully, wantonly, and deliberately engage in acts of

 8 infringement of the ‘633 Patent, justifying an award to Finjan of increased damages under 35 U.S.C. §
 9 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

10                                                COUNT VI
11                 (Indirect Infringement of the ‘633 Patent pursuant to 35 U.S.C. § 271(b))

12          106.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the

13 allegations of the preceding paragraphs, as set forth above.

14          107.    Defendant has induced and continues to induce infringement of at least Claims 1-7,

15 14-20, 28-33, and 42-43 of the ‘633 Patent under 35 U.S.C. § 271(b).

16          108.    In addition to directly infringing the ‘633 Patent, Defendant indirectly infringes the

17 ‘633 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

18 customers, purchasers, users and developers, to perform some of the steps of the method claims,

19 either literally or under the doctrine of equivalents, of the ‘633 Patent, where all the steps of the

20 method claims are performed by either Defendant or its customers, purchasers, users and developers,

21 or some combination thereof. Defendant knew or was willfully blind to the fact that it was inducing

22 others, including customers, purchasers, users and developers, to infringe by practicing, either

23 themselves or in conjunction with Defendant, one or more method claims of the ‘633 Patent,

24 including Claims 1-7, 14-20, 28-33, and 42-43.

25          109.    Defendant knowingly and actively aided and abetted the direct infringement of the

26 ‘633 Patent by instructing and encouraging its customers, purchasers, users and developers to use the

27 ‘633 Accused Products. Such instruction and encouragement includes, but is not limited to, advising

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 1 third parties to use the ‘633 Accused Products in an infringing manner, providing a mechanism

 2 through which third parties may infringe the ‘633 Patent, advertising and promoting the use of the

 3 ‘633 Accused Products in an infringing manner, and distributing guidelines and instructions to third

 4 parties on how to use the ‘633 Accused Products in an infringing manner.

 5           110.   Defendant updates and maintains an HTTP site called the “Technical Assistance
 6 Center” with Defendant’s installation guides, troubleshooting guides, user guides, and operating

 7 instructions for Defendant’s accused products. See, e.g., http://www.juniper.net/documentation/;

 8 https://www.juniper.net/documentation/en_US/release-independent/junos/topics/concept/services-
 9 gateway-srx240-jtac.html, attached hereto as Exhibits 21, 22.

10                                               COUNT VII
11                  (Direct Infringement of the ‘926 Patent pursuant to 35 U.S.C. § 271(a))

12           111.   Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the

13 allegations of the preceding paragraphs, as set forth above.

14           112.   Defendant has infringed Claims 1-30 of the ‘926 Patent in violation of 35 U.S.C. §

15 271(a).

16           113.   Defendant’s infringement is based upon literal infringement or infringement under the

17 doctrine of equivalents, or both.

18           114.   Defendant’s acts of making, using, importing, selling, and/or offering for sale infringing

19 products and services have been without the permission, consent, authorization, or license of Finjan.

20           115.   Defendant’s infringement includes, but is not limited to, the manufacture, use, sale,

21 importation and/or offer for sale of Defendant’s products and services, including the SRX Gateways

22 using Sky ATP (collectively, the “‘926 Accused Products”).

23           116.   The ‘926 Accused Products embody the patented invention of the ‘926 Patent and

24 infringe the ‘926 Patent because they practice a method and a system for protecting a computer and a

25 network from hostile downloadables. One of the ways this is accomplished is by performing hashing

26 on a downloadable in order to generate a downloadable ID, retrieving security profile data, and

27 transmitting an appended downloadable or transmitting the downloadable with a representation of the

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 1 downloadable security profile data. For example, as shown below, the ‘926 Accused Products provide

 2 gateway security to end users, where they receive downloadables and generate downloadable

 3 identifiers such as hashes.

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13 See https://www.juniper.net/documentation/en_US/release-independent/sky-atp/topics/concept/sky-

14 atp-malware-analyze.html at 1, attached hereto as Exhibit 19.
           117.    As shown below, the ‘926 Accused Products will perform a hash lookup using a
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     SHA256 hash value.
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26 http://www.juniper.net/documentation/en_US/release-independent/sky-atp/information-products/topic-
   collections/sky-atp-open-apis.html#operation--v1-skyatp-lookup-hash--hash_string--get) at 2, attached
27 hereto as Exhibit 23.

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     COMPLAINT FOR PATENT INFRINGEMENT                               CASE NO.
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 1         118.    The ‘926 Accused Products will retrieve the downloadable security profile data from a
 2 database, such as a database containing the “full scanning report” or data identifying the malware type,

 3 and requesting a sample submission. The ‘926 Accused Products will retrieve that data and determine

 4 if it is necessary to continue analysis by sending both the downloadable and a representation of the

 5 downloadable data to for further dynamic analysis.

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18 See http://www.juniper.net/documentation/en_US/release-independent/sky-atp/topics/concept/sky-atp-
   about.html at 4, attached hereto as Exhibit 18.
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   https://www.juniper.net/documentation/en_US/release-independent/sky-atp/topics/concept/sky-atp-
11 malware-analyze.html at 1, attached hereto as Exhibit 19.

12         119.    The ‘926 Accused Products will transmit the representation of the downloadable

13 security profile data and the downloadable to a destination computer, such as the sandbox within the

14 Sky ATP cloud, using sample submission.

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     https://www.youtube.com/watch?v=1QmXh8nDIYg.
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   http://www.juniper.net/documentation/en_US/release-independent/sky-atp/information-products/topic-
14 collections/sky-atp-open-apis.html#operation--v1-skyatp-submit-sample-post at 3-4, attached hereto as
   Exhibit 26.
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16          120.      Defendant’s infringement of the ‘926 Patent has injured Finjan in an amount to be

17 proven at trial.

18          121.      Defendant has been long-aware of Finjan’s patents, including the ‘926 Patent, and has
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     continued its infringing activity despite this knowledge. On or about June 10, 2014, Finjan informed
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     Defendant of its patent portfolio, including the Asserted patents and Defendant’s infringement thereof.
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     On or about July 2, 2014, Finjan provided a representative claim chart mapping one of Finjan’s patents
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     to Defendant’s accused products and services. Finjan diligently, but unsuccessfully, attempted to
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24 engage in good faith negotiations with Defendant regarding Finjan’s patent portfolio, explaining

25 Defendant’s infringement of each claim of a representative patent, element-by-element.

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            122.    Even after being shown that its products infringe Finjan’s patents, on information and
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 2 belief Defendant has made no effort to design its products or services around Finjan’s patents, in order

 3 to avoid infringement. Instead, on information and belief Defendant incorporated infringing

 4 technology into additional products, such as those identified in this complaint. Defendant was

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     dismissive of Finjan’s attempts, over several years, to engage in licensing discussions and expressed
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     more interest in Finjan’s status as a practicing entity than in Finjan’s analysis of how Defendant’s
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     products read on Finjan’s patents. For years Defendant refused to seriously consider Finjan’s patent
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 9 portfolio under a non-disclosure agreement. All of these actions demonstrate Defendant’s blatant and

10 egregious disregard for Finjan’s patent rights.

11          123.    Despite its knowledge of Finjan’s patent portfolio and Asserted Patents, being provided
12 a representative claim chart of Finjan patents, and engaging in multiple meetings regarding

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     infringement of Defendant’s products and services, Defendant has sold and continues to sell the
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     accused products and services in complete and reckless disregard of Finjan’s patent rights. As such,
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     Defendant has acted recklessly and continues to willfully, wantonly, and deliberately engage in acts of
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17 infringement of the ‘926 Patent, justifying an award to Finjan of increased damages under 35 U.S.C. §

18 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

19                                               COUNT VIII
                   (Indirect Infringement of the ‘926 Patent pursuant to 35 U.S.C. § 271(b))
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21          124.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the

22 allegations of the preceding paragraphs, as set forth above.

23          125.    Defendant has induced and continues to induce infringement of at least Claims 1-7 and

24 15-21 of the ‘926 Patent under 35 U.S.C. § 271(b).

25          126.    In addition to directly infringing the ‘926 Patent, Defendant indirectly infringes the ‘926

26 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

27 customers, purchasers, users and developers, to perform one or more of the steps of the method claims,

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 1 either literally or under the doctrine of equivalents, of the ‘926 Patent, where all the steps of the

 2 method claims are performed by either Defendant, its customers, purchasers, users, and developers, or

 3 some combination thereof. Defendant knew or was willfully blind to the fact that it was inducing

 4 others, including customers, purchasers, users, and developers, to infringe by practicing, either

 5 themselves or in conjunction with Defendant, one or more method claims of the ‘926 Patent, including

 6 Claims 1-7 and 15-21.

 7          127.    Defendant knowingly and actively aided and abetted the direct infringement of the ‘926
 8 Patent by instructing and encouraging its customers, purchasers, users, and developers to use the ‘926
 9 Accused Products. Such instruction and encouragement includes, but is not limited to, advising third

10 parties to use the ‘926 Accused Products in an infringing manner, providing a mechanism through

11 which third parties may infringe the ‘‘926 Patent, advertising and promoting the use of the ‘926

12 Accused Products in an infringing manner, and distributing guidelines and instructions to third parties

13 on how to use the ‘926 Accused Products in an infringing manner.

14          128.    Defendant updates and maintains an HTTP site called the “Technical Assistance
15 Center” with Defendant’s installation guides, troubleshooting guides, user guides, and operating

16 instructions for Defendant’s accused products. See, e.g., http://www.juniper.net/documentation/;

17 https://www.juniper.net/documentation/en_US/release-independent/junos/topics/concept/services-

18 gateway-srx240-jtac.html, attached hereto as Exhibits 21, 22.

19                                               COUNT IX
20                 (Direct Infringement of the ‘154 Patent pursuant to 35 U.S.C. § 271(a))

21          129.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the

22 allegations of the preceding paragraphs, as set forth above.

23          130.    Defendant has infringed and continues to infringe Claims 1-12 of the ‘154 Patent in

24 violation of 35 U.S.C. § 271(a).

25          131.    Defendant’s infringement is based upon literal infringement or infringement under the

26 doctrine of equivalents, or both.

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 1          132.    Defendant’s acts of making, using, importing, selling, and/or offering for sale infringing
 2 products and services have been without the permission, consent, authorization, or license of Finjan.

 3          133.    Defendant’s infringement includes, but is not limited to, the manufacture, use, sale,
 4 importation and/or offer for sale of Defendant’s products and services, including the SRX Gateways

 5 using Sky ATP (collectively, the “‘154 Accused Products”).

 6          134.    The ‘154 Accused Products embody the patented invention of the ‘154 Patent and
 7 infringe the ‘154 Patent because they utilize and/or incorporate a system for protecting a computer

 8 from dynamically generated malicious content, comprising: a content processor (i) for processing
 9 content received over a network, the content including a call to a first function, and the call including

10 an input, and (ii) for invoking a second function with the input, only if a security computer indicates

11 that such invocation is safe; a transmitter for transmitting the input to the security computer for

12 inspection, when the first function is invoked; and a receiver for receiving an indication from the

13 security computer whether it is safe to invoke the second function with the input.

14          135.    For example, as shown below, the ‘154 Accused Products act as a content processor to
15 process content (such as obfuscated JavaScript) received over the network, where that content includes

16 a call to a first function that contains an input. The ‘154 Accused Products extract potentially

17 malicious objects and files and perform a lookup to Sky ATP by transmitting this input to determine

18 whether it is safe to invoke.

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   https://i.ytimg.com/vi/1QmXh8nDIYg/maxresdefault.jpg (showing that Appliance Products will
12 analyze the content for embedded code such as JavaScript), attached hereto as Exhibit 28.

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20 Sky ATP Admin Manual at 9, attached hereto as Exhibit 15.

21          136.   As a result of Defendant’s unlawful activities, Finjan has suffered and will continue to

22 suffer irreparable harm for which there is no adequate remedy at law. Finjan and Defendant both

23 compete in the security software space, as described for example in paragraphs 7-8 and 34-52 above.

24 And Finjan is actively engaged in licensing its patent portfolio, as described for example in paragraphs

25 7-8 and 34-42 above. Defendant’s continued infringement of the Asserted Patents causes harm to

26 Finjan in the form of price erosion, loss of goodwill, damage to reputation, loss of business

27 opportunities, inadequacy of money damages, and direct and indirect competition. Monetary damages

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 1 are insufficient to compensate Finjan for these harms. Accordingly, Finjan is entitled to preliminary

 2 and/or permanent injunctive relief.

 3          137.   Defendant’s infringement of the ‘154 Patent has injured and continues to injure Finjan
 4 in an amount to be proven at trial.

 5          138.   Defendant has been long-aware of Finjan’s patents, including the ‘154 Patent, and has
 6 continued its infringing activity despite this knowledge. On or about June 10, 2014, Finjan informed

 7 Defendant of its patent portfolio, including the Asserted patents and Defendant’s infringement thereof.

 8 On or about July 2, 2014, Finjan provided a representative claim chart mapping one of Finjan’s patents
 9 to Defendant’s accused products and services. Finjan diligently, but unsuccessfully, attempted to

10 engage in good faith negotiations with Defendant regarding Finjan’s patent portfolio, explaining

11 Defendant’s infringement of each claim of a representative patent, element-by-element.

12          139.   Even after being shown that its products infringe Finjan’s patents, on information and
13 belief Defendant has made no effort to design its products or services around Finjan’s patents, in order

14 to avoid infringement. Instead, on information and belief Defendant incorporated infringing

15 technology into additional products, such as those identified in this complaint. Defendant was

16 dismissive of Finjan’s attempts, over several years, to engage in licensing discussions and expressed

17 more interest in Finjan’s status as a practicing entity than in Finjan’s analysis of how Defendant’s

18 products read on Finjan’s patents. For years Defendant refused to seriously consider Finjan’s patent

19 portfolio under a non-disclosure agreement. All of these actions demonstrate Defendant’s blatant and

20 egregious disregard for Finjan’s patent rights.

21          140.   Despite its knowledge of Finjan’s patent portfolio and Asserted Patents, being provided
22 a representative claim chart of Finjan patents, and engaging in multiple meetings regarding

23 infringement of Defendant’s products and services, Defendant has sold and continues to sell the

24 accused products and services in complete and reckless disregard of Finjan’s patent rights. As such,

25 Defendant has acted recklessly and continues to willfully, wantonly, and deliberately engage in acts of

26 infringement of the ‘154 Patent, justifying an award to Finjan of increased damages under 35 U.S.C. §

27 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

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                                                 COUNT X
 1
                   (Direct Infringement of the ‘494 Patent pursuant to 35 U.S.C. § 271(a))
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            141.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the
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     allegations of the preceding paragraphs, as set forth above.
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            142.    Defendant has infringed Claims 3-5 and 7-18 of the ‘494 Patent in violation of 35
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     U.S.C. § 271(a).
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            143.    Defendant’s infringement is based upon literal infringement or, in the alternative,
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     infringement under the doctrine of equivalents.
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            144.    Defendant acts of making, using, importing, selling, and/or offering for sale infringing
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     products and services have been without the permission, consent, authorization or license of Finjan.
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            145.    Defendant’s infringement includes, but is not limited to, the manufacture, use, sale,
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     importation and/or offer for sale of Defendant’s products and services, including the SRX Gateways,
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     Sky ATP, and Junos Space Security Director (collectively, the “‘494 Accused Products”).
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            146.    The ‘494 Accused Products embody the patented invention of the ‘494 Patent and
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     infringe the ‘494 Patent because they practice a computer-based method comprised of receiving an
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     incoming downloadable, deriving security profile data for the downloadable, including a list of
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     suspicious computer operations that may be attempted by the downloadable, and storing the
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     downloadable security profile data in a database. For example, as shown below, the ‘494 Accused
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     Products provide gateway security to end users, where incoming downloadables are received by the
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     ‘494 Products. Sky ATP derives security profile data for the downloadable, which includes a list of
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     suspicious computer operations that may be attempted by the downloadable.
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24 See http://www.juniper.net/documentation/en_US/release-independent/sky-atp/topics/concept/sky-atp-
   about.html at 3-4, attached hereto as Exhibit 18.
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12 See https://www.juniper.net/documentation/en_US/release-independent/sky-atp/topics/concept/sky-
   atp-malware-analyze.html, at 1-2, attached hereto as Exhibit 19.
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26 See https://www.juniper.net/documentation/en_US/release-independent/sky-atp/topics/concept/sky-
   atp-malware-analyze.html at 2, attached hereto as Exhibit 19.
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 1          147.    Sky ATP stores the downloadable security profile data in databases and provides reports
 2 of that data.

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            148.    Additionally, Defendant’s Junos Space Security Director product stores the
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     downloadable security profile data in a database and provides reports of that data.
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   See http://www.juniper.net/documentation/en_US/release-independent/sky-
14 atp/topics/reference/general/sky-atp-filescan-overview.html at 2, attached hereto as Exhibit 24.

15          149.   SRX Gateways also create a security profile without the use of Sky ATP, because they
16 receive downloadables, scan downloadables to determine if they contain suspicious operations or

17 “potentially malicious content,” generate a first downloadable security profile that identifies the

18 “potentially malicious content” (e.g., “SRX extracts potentially malicious objects and files” and “SRX

19 blocks known malicious file downloads”). For example, as shown below, SRX Gateways receive

20 downloadables, perform a full packet inspection on the downloadables, and apply security policies

21 based on that inspection.

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   See http://www.juniper.net/assets/us/en/local/pdf/datasheets/1000281-en.pdf at 3, attached hereto as
15 Exhibit 13.

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26 See http://www.juniper.net/assets/us/en/local/pdf/datasheets/1000489-en.pdf at 2, attached hereto as
   Exhibit 14.
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            150.   SRX Gateways identify “attack objects,” which are downloadables that contain patterns
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 2 of known attacks that can be used to compromise a network. SRX Gateways generate and log a first

 3 downloadable security profile called a “signature” that identifies the attack objects or suspicious code.

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   https://www.juniper.net/documentation/en_US/junos-space15.2/topics/task/operational/junos-space-
 8 ips-signature-creating.html, attached hereto as Exhibit 20.
 9          151.   SRX Gateways store these security profiles in its internal databases.
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22 https://www.juniper.net/documentation/en_US/junos-space15.1/topics/task/operational/junos-space-
   security-design-ips-signature-creating.html, attached hereto as Exhibit 25.
23
           152. Defendant’s infringement of the ‘494 Patent has injured Finjan in an amount to be
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   proven at trial.
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           153. Defendant has been long-aware of Finjan’s patents, including the ‘494 Patent, and has
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   continued its infringing activity despite this knowledge. On or about June 10, 2014, Finjan informed
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     COMPLAINT FOR PATENT INFRINGEMENT                                  CASE NO.
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 1 Defendant of its patent portfolio, including the Asserted patents and Defendant’s infringement thereof.

 2 On or about July 2, 2014, Finjan provided a representative claim chart mapping one of Finjan’s patents

 3 to Defendant’s accused products and services. Finjan diligently, but unsuccessfully, attempted to

 4 engage in good faith negotiations with Defendant regarding Finjan’s patent portfolio, explaining

 5 Defendant’s infringement of each claim of a representative patent, element-by-element.

 6          154.    Even after being shown that its products infringe Finjan’s patents, on information and
 7 belief Defendant has made no effort to design its products or services around Finjan’s patents, in order

 8 to avoid infringement. Instead, on information and belief Defendant incorporated infringing
 9 technology into additional products, such as those identified in this complaint. Defendant was

10 dismissive of Finjan’s attempts, over several years, to engage in licensing discussions and expressed

11 more interest in Finjan’s status as a practicing entity than in Finjan’s analysis of how Defendant’s

12 products read on Finjan’s patents. For years Defendant refused to seriously consider Finjan’s patent

13 portfolio under a non-disclosure agreement. All of these actions demonstrate Defendant’s blatant and

14 egregious disregard for Finjan’s patent rights.

15          155.    Despite its knowledge of Finjan’s patent portfolio and Asserted Patents, being provided
16 a representative claim chart of Finjan patents, and engaging in multiple meetings regarding

17 infringement of Defendant’s products and services, Defendant has sold and continues to sell the

18 accused products and services in complete and reckless disregard of Finjan’s patent rights. As such,

19 Defendant has acted recklessly and continues to willfully, wantonly, and deliberately engage in acts of

20 infringement of the ‘494 Patent, justifying an award to Finjan of increased damages under 35 U.S.C. §

21 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

22                                                COUNT XI
23                 (Indirect Infringement of the ‘494 Patent pursuant to 35 U.S.C. § 271(b))

24          156.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the

25 allegations of the preceding paragraphs, as set forth above.

26          157.    Defendant has induced infringement of at least Claims 3-5 and 7-9 of the ‘494 Patent

27 under 35 U.S.C. § 271(b).

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 1          158.    In addition to directly infringing the ‘494 Patent, Defendant indirectly infringes the ‘494
 2 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

 3 customers, purchasers, users and developers, to perform one or more of the steps of the method claims,

 4 either literally or under the doctrine of equivalents, of the ‘494 Patent, where all the steps of the

 5 method claims are performed by either Defendant, its customers, purchasers, users, and developers, or

 6 some combination thereof. Defendant knew or was willfully blind to the fact that it was inducing

 7 others, including customers, purchasers, users, and developers, to infringe by practicing, either

 8 themselves or in conjunction with Defendant, one or more method claims of the ‘494 Patent, including
 9 Claims 3-5 and 7-9.

10          159.    Defendant knowingly and actively aided and abetted the direct infringement of the
11 ‘494 Patent by instructing and encouraging its customers, purchasers, users, and developers to use the

12 ‘494 Accused Products. Such instruction and encouragement includes, but is not limited to, advising

13 third parties to use the ‘494 Accused Products in an infringing manner, providing a mechanism

14 through which third parties may infringe the ‘494 Patent, advertising and promoting the use of the

15 ‘494 Accused Products in an infringing manner, and distributing guidelines and instructions to third

16 parties on how to use the ‘494 Accused Products in an infringing manner.

17          160.    Defendant updates and maintains an HTTP site called the “Technical Assistance
18 Center” with Defendant’s installation guides, troubleshooting guides, user guides, and operating

19 instructions for Defendant’s accused products. See, e.g., http://www.juniper.net/documentation/;

20 https://www.juniper.net/documentation/en_US/release-independent/junos/topics/concept/services-

21 gateway-srx240-jtac.html, attached hereto as Exhibits 21, 22.

22                                              COUNT XII
23                 (Direct Infringement of the ‘305 Patent pursuant to 35 U.S.C. § 271(a))

24          161.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the

25 allegations of the preceding paragraphs, as set forth above.

26          162.    Defendant has infringed and continues to infringe Claims 1-25 of the ‘305 Patent in

27 violation of 35 U.S.C. § 271(a).

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 1          163.   Defendant’s infringement is based upon literal infringement or, in the alternative,
 2 infringement under the doctrine of equivalents.

 3          164.   Defendant acts of making, using, importing, selling, and/or offering for sale infringing
 4 products and services have been without the permission, consent, authorization or license of Finjan.

 5          165.   Defendant’s infringement includes, but is not limited to, the manufacture, use, sale,
 6 importation and/or offer for sale of Defendant’s products and services, including the SRX Gateways,

 7 Sky ATP, and Contrail (collectively, the “‘305 Accused Products”).

 8          166.   The ‘305 Accused Products embody the patented invention of the ‘305 Patent and
 9 infringe the ‘305 Patent because they practice a method of receiving incoming content from the

10 Internet, selectively diverting content from its intended destination, scanning the content to recognize

11 potential computer exploits using analyzer and parser rules, and updating those rules to incorporate

12 new behavioral rules. For example, as shown below, the ‘305 Accused Products provide gateway

13 security to end users, where incoming internet content is received by the ‘305 Accused Products.

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13 See http://www.juniper.net/documentation/en_US/release-independent/sky-atp/topics/concept/sky-atp-
   about.html at 4, attached hereto as Exhibit 18.
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           167. The ‘305 Accused Products will divert content from the gateway if the content requires
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   further analysis, as shown below.
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26 See http://www.juniper.net/assets/us/en/local/pdf/datasheets/1000549-en.pdf at 2, attached hereto as
   Exhibit 27.
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 1          168.   The ‘305 Accused Products also use machine learning to look for patterns or routines
 2 that indicate malicious behavior and select that content to be further scanned. The ‘305 Accused

 3 Products use rules to parse and analyze the content by pulling the code apart to identify specific

 4 “features” associated with malware. The scanner uses advanced heuristics and analyzer and parser

 5 rules to “generate a verdict” as to whether the content is malicious.

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19 https://www.youtube.com/watch?v=1QmXh8nDIYg.

20          169.   The ‘305 Accused Products selectively divert content from its intended destination,
21 scanning it to recognize potential computer exploits using analyzer and parser rules.

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16 See http://www.juniper.net/us/en/products-services/security/sky-advanced-threat-prevention/, attached
   hereto as Exhibit 10.
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           170. Additionally, Defendant’s Contrail products practice a method of receiving incoming
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   content from the Internet, selectively diverting content from its intended destination, scanning the
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   content to recognize potential exploits using analyzer and parser rules, and updating those rules to
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   incorporate new behavioral policies.
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13 http://www.juniper.net/us/en/products-services/sdn/contrail/contrail-security/ at 1, attached hereto as
   Exhibit 17.
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           171. As a result of Defendant’s unlawful activities, Finjan has suffered and will continue to
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   suffer irreparable harm for which there is no adequate remedy at law. Finjan and Defendant both
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   compete in the security software space, as described for example in paragraphs 7-8 and 34-52 above.
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   And Finjan is actively engaged in licensing its patent portfolio, as described for example in
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   paragraphs 7-8 and 34-42 above. Defendant’s continued infringement of the Asserted Patents causes
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   harm to Finjan in the form of price erosion, loss of goodwill, damage to reputation, loss of business
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   opportunities, inadequacy of money damages, and direct and indirect competition. Monetary
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   damages are insufficient to compensate Finjan for these harms. Accordingly, Finjan is entitled to
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   preliminary and/or permanent injunctive relief.
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           172. Defendant’s infringement of the ‘305 Patent has injured and continues to injure Finjan
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   in an amount to be proven at trial.
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           173. Defendant has been long-aware of Finjan’s patents, including the ‘305 Patent, and has
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   continued its infringing activity despite this knowledge. On or about June 10, 2014, Finjan informed
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 1 Defendant of its patent portfolio, including the Asserted patents and Defendant’s infringement thereof.

 2 On or about July 2, 2014, Finjan provided a representative claim chart mapping one of Finjan’s patents

 3 to Defendant’s accused products and services. Finjan diligently, but unsuccessfully, attempted to

 4 engage in good faith negotiations with Defendant regarding Finjan’s patent portfolio, explaining

 5 Defendant’s infringement of each claim of a representative patent, element-by-element.

 6          174.    Even after being shown that its products infringe Finjan’s patents, on information and
 7 belief Defendant has made no effort to design its products or services around Finjan’s patents, in order

 8 to avoid infringement. Instead, on information and belief Defendant incorporated infringing
 9 technology into additional products, such as those identified in this complaint. Defendant was

10 dismissive of Finjan’s attempts, over several years, to engage in licensing discussions and expressed

11 more interest in Finjan’s status as a practicing entity than in Finjan’s analysis of how Defendant’s

12 products read on Finjan’s patents. For years Defendant refused to seriously consider Finjan’s patent

13 portfolio under a non-disclosure agreement. All of these actions demonstrate Defendant’s blatant and

14 egregious disregard for Finjan’s patent rights.

15          175.    Despite its knowledge of Finjan’s patent portfolio and Asserted Patents, being provided
16 a representative claim chart of Finjan patents, and engaging in multiple meetings regarding

17 infringement of Defendant’s products and services, Defendant has sold and continues to sell the

18 accused products and services in complete and reckless disregard of Finjan’s patent rights. As such,

19 Defendant has acted recklessly and continues to willfully, wantonly, and deliberately engage in acts of

20 infringement of the ‘305 Patent, justifying an award to Finjan of increased damages under 35 U.S.C. §

21 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

22                                               COUNT XIII
23                 (Indirect Infringement of the ‘305 Patent pursuant to 35 U.S.C. § 271(b))

24          176.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the

25 allegations of the preceding paragraphs, as set forth above.

26          177.    Defendant has induced and continues to induce infringement of at least Claims 13-24

27 of the ‘305 Patent under 35 U.S.C. § 271(b).

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 1          178.    In addition to directly infringing the ‘305 Patent, Defendant indirectly infringes the ‘305
 2 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

 3 customers, purchasers, users and developers, to perform one or more of the steps of the method claims,

 4 either literally or under the doctrine of equivalents, of the ‘305 Patent, where all the steps of the

 5 method claims are performed by either Defendant, its customers, purchasers, users, and developers, or

 6 some combination thereof. Defendant knew or was willfully blind to the fact that it was inducing

 7 others, including customers, purchasers, users, and developers, to infringe by practicing, either

 8 themselves or in conjunction with Defendant, one or more method claims of the ‘305 Patent, including
 9 Claims 13-24.

10          179.    Defendant knowingly and actively aided and abetted the direct infringement of the
11 ‘305 Patent by instructing and encouraging its customers, purchasers, users, and developers to use the

12 ‘305 Accused Products. Such instruction and encouragement includes, but is not limited to, advising

13 third parties to use the ‘305 Accused Products in an infringing manner, providing a mechanism

14 through which third parties may infringe the ‘305 Patent, advertising and promoting the use of the

15 ‘305 Accused Products in an infringing manner, and distributing guidelines and instructions to third

16 parties on how to use the ‘305 Accused Products in an infringing manner.

17          180.    Defendant updates and maintains an HTTP site called the “Technical Assistance
18 Center” with Defendant’s installation guides, troubleshooting guides, user guides, and operating

19 instructions for Defendant’s accused products. See, e.g., http://www.juniper.net/documentation/;

20 https://www.juniper.net/documentation/en_US/release-independent/junos/topics/concept/services-

21 gateway-srx240-jtac.html, attached hereto as Exhibits 21, 22.

22                                              COUNT XIV
23                 (Direct Infringement of the ‘408 Patent pursuant to 35 U.S.C. § 271(a))

24          181.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the

25 allegations of the preceding paragraphs, as set forth above.

26          182.    Defendant has infringed and continues to infringe Claims 1-35 of the ‘408 Patent in

27 violation of 35 U.S.C. § 271(a).

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 1          183.    Defendant’s infringement is based upon literal infringement or, in the alternative,
 2 infringement under the doctrine of equivalents.

 3          184.    Defendant acts of making, using, importing, selling, and/or offering for sale infringing
 4 products and services have been without the permission, consent, authorization or license of Finjan.

 5          185.    Defendant’s infringement includes, but is not limited to, the manufacture, use, sale,
 6 importation and/or offer for sale of Defendant’s products and services, including the SRX Gateways

 7 using Sky ATP (collectively, the “‘408 Accused Products”).

 8          186.    The ‘408 Accused Products embody the patented invention of the ‘408 Patent and
 9 infringe the ‘408 Patent because they practice a method of receiving an incoming content stream,

10 determining the programming language (by, e.g., using static analysis to determine the metadata or file

11 structure of the file), using parser and analyzer rules to express the stream in patterns of tokens in a

12 parse tree, and finding exploits. For example, as shown below, the ‘408 Accused Products provide

13 gateway security to end users, where incoming internet content is received by the ‘408 Accused

14 Products.

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   See http://www.juniper.net/us/en/products-services/security/sky-advanced-threat-prevention/, attached
16 hereto as Exhibit 10.

17          187.    The ‘408 Accused Products use machine learning to detect new threats in real-time.

18 Defendant’s machine learning technology detects the programming language to be able to pull apart

19 the code using parser to create a parse tree and find exploits in the parse tree using analyzer rules,

20 dynamically and in real-time.

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14 https://www.youtube.com/watch?v=1QmXh8nDIYg.

15          188.   As a result of Defendant’s unlawful activities, Finjan has suffered and will continue to
16 suffer irreparable harm for which there is no adequate remedy at law. Finjan and Defendant both

17 compete in the security software space, as described for example in paragraphs 7-8 and 34-52 above.

18 And Finjan is actively engaged in licensing its patent portfolio, as described for example in

19 paragraphs 7-8 and 34-42 above. Defendant’s continued infringement of the Asserted Patents causes

20 harm to Finjan in the form of price erosion, loss of goodwill, damage to reputation, loss of business

21 opportunities, inadequacy of money damages, and direct and indirect competition. Monetary

22 damages are insufficient to compensate Finjan for these harms. Accordingly, Finjan is entitled to

23 preliminary and/or permanent injunctive relief.

24          189.   Defendant’s infringement of the ‘408 Patent has injured and continues to injure Finjan
25 in an amount to be proven at trial.

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     COMPLAINT FOR PATENT INFRINGEMENT                                  CASE NO.
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 1          190.    Defendant has been long-aware of Finjan’s patents, including the ‘408 Patent, and has
 2 continued its infringing activity despite this knowledge. On or about June 10, 2014, Finjan informed

 3 Defendant of its patent portfolio, including the Asserted patents and Defendant’s infringement thereof.

 4 On or about July 2, 2014, Finjan provided a representative claim chart mapping one of Finjan’s patents

 5 to Defendant’s accused products and services. Finjan diligently, but unsuccessfully, attempted to

 6 engage in good faith negotiations with Defendant regarding Finjan’s patent portfolio, explaining

 7 Defendant’s infringement of each claim of a representative patent, element-by-element.

 8          191.    Even after being shown that its products infringe Finjan’s patents, on information and
 9 belief Defendant has made no effort to design its products or services around Finjan’s patents, in order

10 to avoid infringement. Instead, on information and belief Defendant incorporated infringing

11 technology into additional products, such as those identified in this complaint. Defendant was

12 dismissive of Finjan’s attempts, over several years, to engage in licensing discussions and expressed

13 more interest in Finjan’s status as a practicing entity than in Finjan’s analysis of how Defendant’s

14 products read on Finjan’s patents. For years Defendant refused to seriously consider Finjan’s patent

15 portfolio under a non-disclosure agreement. All of these actions demonstrate Defendant’s blatant and

16 egregious disregard for Finjan’s patent rights.

17          192.    Despite its knowledge of Finjan’s patent portfolio and Asserted Patents, being provided
18 a representative claim chart of Finjan patents, and engaging in multiple meetings regarding

19 infringement of Defendant’s products and services, Defendant has sold and continues to sell the

20 accused products and services in complete and reckless disregard of Finjan’s patent rights. As such,

21 Defendant has acted recklessly and continues to willfully, wantonly, and deliberately engage in acts of

22 infringement of the ‘408 Patent, justifying an award to Finjan of increased damages under 35 U.S.C. §

23 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

24                                                COUNT XV
25                 (Indirect Infringement of the ‘408 Patent pursuant to 35 U.S.C. § 271(b))

26          193.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein, the

27 allegations of the preceding paragraphs, as set forth above.

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 1          194.    Defendant has induced and continues to induce infringement of at least Claims 1-8 and
 2 23-28 of the ‘408 Patent under 35 U.S.C. § 271(b).

 3          195.    In addition to directly infringing the ‘408 Patent, Defendant indirectly infringes the ‘408
 4 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others, including

 5 customers, purchasers, users and developers, to perform one or more of the steps of the method claims,

 6 either literally or under the doctrine of equivalents, of the ‘408 Patent, where all the steps of the

 7 method claims are performed by either Defendant, its customers, purchasers, users, and developers, or

 8 some combination thereof. Defendant knew or was willfully blind to the fact that it was inducing
 9 others, including customers, purchasers, users, and developers, to infringe by practicing, either

10 themselves or in conjunction with Defendant, one or more method claims of the ‘408 Patent, including

11 Claims 1-8 and 23-28.

12          196.    Defendant knowingly and actively aided and abetted the direct infringement of the ‘408
13 Patent by instructing and encouraging its customers, purchasers, users, and developers to use the ‘408

14 Accused Products. Such instruction and encouragement includes, but is not limited to, advising third

15 parties to use the ‘408 Accused Products in an infringing manner, providing a mechanism through

16 which third parties may infringe the ‘408 Patent, advertising and promoting the use of the ‘408

17 Accused Products in an infringing manner, and distributing guidelines and instructions to third parties

18 on how to use the ‘408 Accused Products in an infringing manner.

19          197.    Defendant updates and maintains an HTTP site called the “Technical Assistance
20 Center” with Defendant’s installation guides, troubleshooting guides, user guides, and operating

21 instructions for Defendant’s accused products. See, e.g., http://www.juniper.net/documentation/;

22 https://www.juniper.net/documentation/en_US/release-independent/junos/topics/concept/services-

23 gateway-srx240-jtac.html, attached hereto as Exhibits 21, 22.

24                                          PRAYER FOR RELIEF
25          WHEREFORE, Finjan prays for judgment and relief as follows:
26          A.      An entry of judgment holding that Defendant has infringed and is infringing the ‘844
27 Patent, the ‘780 Patent, the ‘633 Patent, the ‘926 Patent, the ‘154 Patent, the ‘494 Patent, the ‘305

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 1 Patent, and the ‘408 Patent; and has induced infringement and is inducing infringement of the ‘844

 2 Patent, the ‘780 Patent, the ‘633 Patent, the ‘926 Patent, the ‘494 Patent, the ‘305 Patent, and the ‘408

 3 Patent;

 4           B.     A preliminary and permanent injunction against Defendant and its officers, employees,
 5 agents, servants, attorneys, instrumentalities, and/or those in privity with them, from continuing to

 6 infringe the ‘633 Patent, the ‘154 Patent, the ‘305 Patent, and the ‘408 Patent, or inducing the

 7 infringement of the ‘633 Patent, the ‘305 Patent, and the ‘408 Patent, and for all further and proper

 8 injunctive relief pursuant to 35 U.S.C. § 283;
 9           C.     An award to Finjan of such past damages as it shall prove at trial against Defendant
10 that are adequate to fully compensate Finjan for Defendant’s infringement of the ‘844 Patent, the

11 ‘780 Patent, the ‘633 Patent, the ‘926 Patent, the ‘154 Patent, the ‘494 Patent, the ‘305 Patent, and the

12 ‘408 Patent, said damages to be no less than a reasonable royalty;

13           D.     A determination that Defendant’s infringement has been willful, wanton, and
14 deliberate and that the damages against it be increased up to treble on this basis or for any other basis

15 in accordance with the law;

16           E.     A finding that this case is “exceptional” and an award to Finjan of its costs and
17 reasonable attorneys’ fees, as provided by 35 U.S.C. § 285;

18           F.     An accounting of all infringing sales and revenues, together with post judgment
19 interest and prejudgment interest from the first date of infringement of the ‘844 Patent, the ‘780

20 Patent, the ‘633 Patent, the ‘926 Patent, the ‘154 Patent, the ‘494 Patent, the ‘305 Patent, and the ‘408

21 Patent; and

22           G.     Such further and other relief as the Court may deem proper.
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 1                                            Respectfully submitted,
 2
     Dated: September 29, 2017          By:      /s/ Paul J. Andre
 3                                            Paul J. Andre (State Bar No. 196585)
                                              Lisa Kobialka (State Bar No. 191404)
 4                                            James Hannah (State Bar No. 237978)
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 5
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 7                                            Telephone: (650) 752-1700
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10
                                              Attorneys for Plaintiff
11                                            FINJAN, INC.
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                                      DEMAND FOR JURY TRIAL
 1

 2        Finjan demands a jury trial on all issues so triable.

 3                                                      Respectfully submitted,
 4 Dated: September 29, 2017                      By:      /s/ Paul J. Andre
 5                                                      Paul J. Andre (State Bar No. 196585)
                                                        Lisa Kobialka (State Bar No. 191404)
 6                                                      James Hannah (State Bar No. 237978)
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 7                                                       & FRANKEL LLP
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12
                                                        Attorneys for Plaintiff
13                                                      FINJAN, INC.

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